       Case 1-22-41860-ess        Doc 4    Filed 08/02/22     Entered 08/02/22 10:53:16




ORTIZ & ORTIZ, L.L.P.
287 Park Avenue South, Suite 213
New York, New York 10010
Tel. (718) 522-1117
Fax (718) 596-1302
email@ortizandortiz.com
Norma E. Ortiz, Esq.
Proposed Attorneys for the Debtor

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------x
In re

BAOBURG INC.,                                                 Case No. 22-41860

                                                              Sub V Chapter 11

                                   Debtor.
-------------------------------------------------------x
     CORPORATE OWNERSHIP STATEMENT PURSUANT TO FED. R. BANKR. P.
                   1007(a)(1) AND 7007.1 AND LOCAL BANKR. RULE 1073-3

        Pursuant Fed. R. Bankr. Proc. 1007(a)(1) and 7007.1 and Local Bankr. Rule 1073-3,

Baoburg Inc., as debtor and debtor in possession in the above captioned chapter 11 case (the

“Debtor”), respectfully represents:

        The undersigned, being an officer and shareholder of the Debtor, hereby states that there

are no entities that directly or indirectly own 10% or more of any class of the debtor’s equity

interest.



Dated: August 1, 2022
       Brooklyn, New York

                                                     _S/Suchanan Aksornnan_______________
                                                     Suchanan Aksornnan, President
